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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE )
OF THE NAACP, et al, )
Plaintiffs, )
)
Vv. ) Case No. 1:22-CV-339
)
)
AL SCHMIDT, )
Acting Secretary, et al, ) RE: ECF No. 244
Defendants. )
ORDER

This matter is before the Court on remand from the United States Court of Appeals for
the Third Circuit. Presently pending are several motions for summary judgment. See ECF Nos.
397, 400, 433, 435, 436, and 437. On September 27, 2024, Plaintiffs herein filed a petition
seeking a Writ of Certiorari in the United States Supreme Court. See Supreme Court Case
Number 24-363. A response to the petition is currently due in the Supreme Court by October 31,
2024. Id. Although no Party informed this Court of that filing, judicial notice of that filing may
be taken. See, e.g., Orabi v. Att'y Gen. of the U.S., 738 F.3d 535, 537 n.1 (3d Cir. 2014) (a court
“may take judicial notice of the contents of another [c]Jourt's docket.”’).

The filing of a petition for writ of certiorari may have a direct impact on the continued
progression of this case in this Court. Accordingly, this litigation is hereby STAYED pending a
decision on the petition by the Supreme Court. This Court has broad discretion to stay
proceedings. See Bechtel Corp. v. Local 215, Laborer's Int'l Union of N. Am., 544 F.2d 1207,

1215 Gd Cir. 1976). This power is “incidental to the power inherent in every court to control the

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disposition of the causes on its docket with economy of time and effort for itself, for counsel, and!
for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

It is further ORDERED that within ten days of the resolution of the petition, or any
subsequent appeal and final resolution by the Supreme Court, Counsel for Plaintiffs are directed

to file a written status report in this Court.

Sitar Vetateit Aol
USAN PARADISE BAXTER
United States District Judge

Dated: October 22, 2024

